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AO 94 ‘sRev. 5/85! Criminal Comg|aint '-1 g g §

United States District Courtl JUN 26 2013

EASTERN DISTRICT OF VIRGINIA
Richmond Division ;atbtiMoNo, vA

 

 

 

 

 

 

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UN|TED STATES OF AMER|CA
v. CRlMINAL COMPLAINT
cAsE NuMaER: 313 MJ-°?q 3

JOSHUA CLAYTON BRADY

l, the undersigned complainant, being duly swom, state the following is true and correct to the best of my knowledge and belief:

On or about June 25 . 2013 in the .' n _ Eastern _ District of Virginia , the defendant lid

knowingly and falsely assume, pretend to be, and act as an officer and employee acting under the authority of the United
States and any department, agency, and officer thereof
in violation of Tit|e(s) 18 United States Code, Section(s) 912

l further state that l am a(n) Special Agent, Dep_artment of Home|and Security and that this complaint is based on the following
faClS: oman me

SEE ATTACHED AFF|DAVIT
REVIEWED AND APPROVED:

AM.¢~\J-/C.I{M.v-'*

Michae| C. Moore
Assistant United States Attorney

 

Continued on the attached sheet and made a part hereof: g Yes m No

=v?.' ~‘\‘»tn'n. '. t‘

7/..,,. \.%.64 1_6@
Kevin D. Hogancamp, SpeM Agent
Department of Home|and Security

Sworn to before me and subscribed in my p

/ z 7Sence,
d
---j m g l'/ 2 l at Richmond, Virginia
Date /S/ \\ /1 V City and State
Di\_rid J. Novak W

 

 

 

Name & Title of Judicial Signature of Judicial Ol‘flcer

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'AFFIDA'vli 'i_.:,

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l, Kevin D. Hogancamp, Special Agent with the Departmei£ifd of Homeland Security, United States
lmmigration and Customs Enforcement (ICE), Homeland Security investigations (HSI) stationed
at the Off ce of the Assistant Special Agent 1n Charge (ASAC) Norfolk, Virginia, 400 N. 8th
Street, Richmond, VA, being duly swom, depose and state as follows:

INTRODUCTION

l. Your affiant obtained the information set forth in this affidavit either through personal knowledge
or directly from other law enforcement officers having knowledge of this case.

2. This affidavit is submitted in support of` a criminal complaint and warrant for the arrest of Joshua
Clayton BRADY, aka Jacob ATTLINGER.

3. This request for an arrest warrant is made in relation to the following offenses occurring in
the Eastem District of Virginia (EDVA) and elsewhere: Whoever falsely assumes or
pretends to be an officer or employee acting under the authority of the United States or any
department, agency or officer thereof`, tn violation of Tltle 18 USC Section 912.

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FAC'I‘S AND CIRCUMSTANCES
7 11 1. ' ‘* ‘ '

4. On .lune 23, 2013, DHS/HSI received information from Virginia State Police (VSP) in
regards to an individual using the name Jacob A,'ITLl.fNGER who was representing himself
as a Department of Homeland Security Officer utilizing the telephone number 804-356-
l 1 15.

5. On June 24, 2013, DHS/HSI received information from the Security Manager at St. Francis
medical center in Midlothian, Virginia in regards to an individual using the name Jacob
ATTLINGER, who was representing himself as a Department of Home|and Security Officer
utilizing the telephone number 804-356-1 l 15

6. During the telephone conversation with the Security Manager at St. Francis medical center,
A'I'I`LINGER stated he wanted to utilize a patient’s room at St. Francis medical center to
conduct an undercover operation. A'I`TLINGER also inquired about obtaining video footage
from the security department

7. On June 24, 2013, DHS/HSI received information from VCU Police Department that an
individual using the name.Jacob ATTLINGER who was representing himself as a Homeland
Security lnvestigations Special Agent utilizing the telephone number 804 356- 1115

8. During the call between tli€'VCU Police Department and ATTLINGE,R, A'I`TLINGER
requested a room at VCU Medical Center;irt -the cqiti;pal care department that could be
equipped with audio and video surveillance equipn'{pitt for an undercover operation that
ATTLINGER would like to execute by June, 27, 2013. AT']`LINGER stated that he is
employed by “HSI / Homeland Security lnvestigations”.

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9. On June 25, 2013, DHS/HS[ conducted employee record queries for an employee by the
name of Jacob ATTLINGER and any variation of the name with negative results. Further
DHS/HSI conducted records queries for any former employee and applicant by the name of
Jacob ATTLINGER and-° any variation of the name with negative results.

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10. On June 25,2013,A'1'1`LINGER htilizing the 804-356- 1115 contacted the Security Manager
at St. Francis medical center*iri‘l Midlothiatf; Vlrggmallidenttfymg himself has employee of
Homeland Securitylnvestigations. ~ '-;.l lilft§w

l l. During the conversation ATTLINGER requested a meeting with the Hospital administration
on June 26, 2013. ATTLINGER provided Security Manager at St. Francis medical center

with two email address that can reached at; `|acob.attlinger@dhs.gov,
`acob.attlin e4 leo. ov.

12. On June 26, 2013, DHS/HSI Special Agents interviewed Patricia Moyer Shadel an associate of
Joshua Clayton BRADY, aka .lacob ATTLINGER, Shadel advised that telephone number 804-
356-1 115 is used by Joshua Clayton BRADY, aka Jacob A'I'l`LINGER. Shadel stated that
BRADY had food delivered to her husband’s hospital room in June of 2013. Shadel advised
following her husband’s death on June 6, 2013, that she met BRADY at a Starbucks in Chester,
Virginia, were BRADY assisted with Shadel’s husband death benefits, specifically with acquiring
the DD-214 form.

13. On June 26, 2013, Federal Bureau of lnvestigations Special Agent .1 im Melia positively identified
Jacob ATTLINGER voice as .Ipshua Clayton BRADY on a recorded telephone call on June 25,
2013, between the Security,-Manager at St. Francis medical center and Jacob AT'l`LlNGER.

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l4. Accordingly, pursuant to the facts set forth above,- f"s'ub;n"it that probable cause exists for an
seek the issuance of a criminal complaint and warrant for the arrest of Joshua Clayton
BRADY, aka Jacob ATTLINGER for violations of T1t|e 18, U. S. C., Section 912.

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Kevin D. H{gancamti/
Special Agent HSI

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Subscribed and sworn to, before me thiszé day of June 2013 in Richmond, VA

DavidJ. Novak g

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